

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,951






EX PARTE RANDLE WAYNE PORTIS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2008-749-C2 IN THE 54TH DISTRICT COURT


FROM MCLENNAN COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession with
intent to deliver a controlled substance and sentenced to twenty-five years' imprisonment.  The Tenth
Court of Appeals affirmed his conviction. Portis v. State, 10-09-00343-CR (Tex. App.--Waco Oct.
26, 2011) (unpublished).  

	Applicant contends that his appellate counsel rendered ineffective assistance because counsel
did not timely file a petition for discretionary review. 

	Appellate counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court
has entered findings of fact and conclusions of law that appellate counsel failed to timely file a
petition for discretionary review.  

	We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition
for discretionary review of the judgment of the Tenth Court of Appeals in Cause No. 10-09-00343-CR that affirmed his conviction in Cause No. 2008-749-C2 from the 54th District Court of McLennan
County.  Applicant shall file his petition for discretionary review with this Court within 30 days of
the date on which this Court's mandate issues.


Delivered: January 16, 2013

Do not publish


